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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 8   IVAN PATRICK SABON,

 9                              Plaintiff,                  Case No. C21-1251-JCC-MLP

10          v.                                              REPORT AND RECOMMENDATION

11   KING COUNTY, et al.,

12                              Defendants.

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14          On September 10, 2021, Plaintiff Ivan Patrick Sabon (“Plaintiff”), proceeding pro se,

15   submitted a proposed § 1983 civil rights complaint. (Dkt. # 1). On September 15, 2021, the Clerk

16   of Court advised Plaintiff his submission was deficient due to the filing fee requirement and that

17   he was required to either submit an application to proceed in forma pauperis (“IFP”) or pay the

18   filing fee. (Dkt. # 2.) Plaintiff was advised that failure to correct the deficiency by October 15,

19   2021, could result in dismissal of his case. (Id.)

20          To date, Plaintiff has neither submitted an application to proceed IFP nor paid the filing

21   fee. Accordingly, the Court recommends this action be DISMISSED without prejudice for failure

22   to pay the filing fee as required by 28 U.S.C. § 1914. A proposed Order accompanies this Report

23   and Recommendation.




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 1          Objections to this Report and Recommendation, if any, should be filed with the Clerk and

 2   served upon all parties to this suit by no later than twenty-one (21) days after the filing of this

 3   Report and Recommendation. Objections, and any response, shall not exceed twelve pages.

 4   Failure to file objections within the specified time may affect your right to appeal. Objections

 5   should be noted for consideration on the District Judge’s motion calendar fourteen (14) days

 6   after they are served and filed. Responses to objections, if any, shall be filed no later than

 7   fourteen (14) days after service and filing of objections. If no timely objections are filed, the

 8   matter will be ready for consideration by the District Judge on November 12, 2021.

 9          The Clerk is directed to send copies of this Report and Recommendation to Plaintiff and

10   to the Honorable John C. Coughenour.

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12          Dated this 18th day of October, 2021.

13
                                                            A
14                                                          MICHELLE L. PETERSON
                                                            United States Magistrate Judge
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     REPORT AND RECOMMENDATION - 2
